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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


  ERIC BIEBER,

                Plaintiff,                        Civil Action No. 21-cv-05268 (MKB) (RML)

                    - against –

  CAYUGA CAPITAL MANAGEMENT,
  LLC, SEA WOLF SERVICES, LLC, JACOB
  SACKS, JAMES WISEMAN,

                Defendants.



            STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

         IT IS HEREBY STIPULATED AND AGREED by and between the parties and their
 respective counsel that the above-captioned action is voluntarily dismissed with prejudice and
 without costs to any party pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil
 Procedure.

 Dated: New York, New York
        March 8, 2023

  OUTTEN & GOLDEN LLP                             KISHNER MILLER HIMES P.C.


  By:    /s/ Aliaksandra Ramanenka                By:    /s/ Ryan O. Miller
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